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Attorney for Plaintiff
DAVID EVERHART

                     UNITED STATES DISTRICT COURT
                          DISTRICT OF NEVADA

                                          :
DAVID EVERHART,                           :
                                            Civil Action No.: ______
                                          :
                    Plaintiff,            :
      v.                                  :
                                          :
DIRECTV, LLC,                             :
                                            COMPLAINT
                                          :
                    Defendant.            :
                                          :
                                          :

      For this Complaint, the Plaintiff, DAVID EVERHART, by undersigned

counsel, states as follows:


                                 JURISDICTION
      1.     This action arises out of Defendant’s violations of the Telephone

Consumer Protection Act, 47 U.S.C. § 227, et seq. (the “TCPA”) by negligently,

knowingly, and/or willfully placing automated calls to Plaintiff’s cellular phone

without consent, thereby violating the TCPA.
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      2.     This action is also brought under Nevada Revised Statutes Chapter

598.0918 (“NRS 598”) and Nevada Revised Statutes Chapter 41.600 et seq. (“NRS

41.600”) for Defendant’s deceptive trade practices as further described herein.

      3.     Plaintiff alleges as follows upon personal knowledge as to Plaintiff

and Plaintiff’s own acts and experiences, and, as to all other matters, upon

information and belief, including investigation conducted by Plaintiff’s attorneys.

      4.     Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367 and this

Court has original jurisdiction over Plaintiff’s TCPA claims. Mims v. Arrow Fin.

Serv., LLC, 132 S.Ct. 740 (2012).

      5.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) &

(c), because Plaintiff resides within the District of Nevada, a substantial portion of

the events or omissions giving rise to the claim occurred in this District, and

Defendant regularly conducts business in this District.

                                     PARTIES
      6.     The Plaintiff, DAVID EVERHART (“Plaintiff” or “Mr. Everhart”), is

an adult individual residing in Las Vegas, Nevada.

      7.     Plaintiff is, and at all times mentioned herein was, a “person” as

defined by 47 U.S.C. § 153(39).

      8.     Defendant DIRECTV, LLC (“DIRECTV”), is doing business in the

State of Nevada.
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      9.     Defendant is and at all times mentioned herein was, a corporation and

is a “person,” as defined by 47 U.S.C. § 153 (39).

      10.    DIRECTV at all times acted by and through one or more of its agents

or representatives.

       THE TELEPHONE CONSUMER PROTECTION ACT OF 1991

      11.    In 1991, Congress enacted the TCPA in response to a growing number

of consumer complaints regarding certain telemarketing practices.

      12.    The TCPA regulates, among other things, the use of automated

telephone dialing systems.

      13.    47 U.S.C. § 227(a)(1) defines an automatic telephone dialing system

(“ATDS”) as equipment having the capacity –

             (A) to store or produce telephone numbers to be called,
             using a random or sequential number generator; and

             (B)      to dial such numbers.
      14.    Specifically, 47 U.S.C. § 227(1)(A)(iii) prohibits any call using an

ATDS or an artificial or prerecorded voice to a cellular phone without prior

express consent by the person being called, unless the call is for emergency

purposes.

      15.    According to findings by the Federal Communications Commission

(“FCC”), such calls are prohibited because automated or prerecorded telephone

calls are a greater nuisance and invasion of privacy than live solicitation calls. The
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FCC also recognized that wireless customers are charged for incoming calls.1

       16.    On January 4, 2008, the FCC released a Declaratory Ruling wherein it

confirmed that autodialed and prerecorded calls to a wireless number by a creditor,

or on behalf of a creditor, are permitted only if the calls are made with the “prior

express consent” of the called party.2

       17.    On July 10, 2015, the FCC issued FCC Order 15-72, wherein the

FCC3 stated that “[a] caller may not limit the manner in which revocation [of prior

express consent to call] may occur” and that the “burden is on the caller to prove it

obtained the necessary prior express consent”. Id. at ¶ 30.

       18.    Further, consumers (like the Plaintiff) may revoke consent through

any reasonable means. Id. at ¶ 47.

       19.    Nothing in the language of the TCPA or its legislative history

supports the notion that Congress intended to override a consumer’s common law

right to revoke consent. Id. at ¶ 58.




1
 Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, CG
Docket No. 02-278, Report and Order, 18 FCC Rcd 14014 (2003).
2
 In the Matter of Rules and Regulations Implementing the Telephone Consumer Protection Act
of 1991, 23 F.C.C.R. 559, 23 FCC Rcd 559, 43 Communications Reg. (P&F) 877, 2008 WL
65485 (F.C.C.) (2008).
3
  See Declaratory Ruling and Order, Adopted June 18, 2015 and Released July 10, 2015
regarding In the Matter of Rules and Regulations Implementing the Telephone Consumer
Protection Act of 1991, CG Docket No. 02-278, WC Docket No. 07-135
(https://apps.fcc.gov/edocs_public/attachmatch/FCC-15-72A1.pdf).
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      20.    Indeed, some consumers may find unwanted intrusions by phone more

offensive than home mailings because they can cost them money and because, for

many, their phone is with them at almost all times. Id. at ¶ 61.

      21.    Consumers have a right to revoke consent, using any reasonable

method including orally or in writing. Id. at ¶ 64.

              ALLEGATIONS APPLICABLE TO ALL COUNTS
      22.    Within the four years prior to filing the instant complaint, the Plaintiff

received numerous calls from the Defendant from the following phone numbers

registered to DIRECTV: (877) 488-3557; (866) 478-9814; and (800) 531-5000.

      23.    During these calls DIRECTV would demand to speak with someone

who is not the Plaintiff in an attempt to collect and overdue debt with DIRECTV.

      24.    The Plaintiff advised DIRECTV’s representatives that DIRECTV was

calling the wrong person, that he does not have an account with DIRECTV, and to

cease calling him.

      25.    Indeed, on one occasion, the Plaintiff spoke with a DIRECTV

“supervisor” after receiving a series of annoying calls and advised the supervisor

about DIRECTV’s constant unwarranted and annoying calls to his cell phone.

      26.    The DIRECTV supervisor apologized and advise the Plaintiff that

DIRECTV would stop the calls.
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       27.     Notwithstanding the foregoing, the Plaintiff continued receiving

collection calls from DIRECTV threatening to terminate his account service with

DIRECTV for an account he simply never maintained with DIRECTV (even after his

complaint with a DIRCTV collection supervisor).

       28.     Upon information and belief, DIRECTV employed an automatic

telephone dialing system (“ATDS”) which meets the definition set forth in 47 U.S.C.

§ 227(a)(1).

       29.     Defendant or its agent/s contacted Plaintiff on Plaintiff’s cellular

telephone number ending in “2924” via an ATDS as defined by 47 U.S.C. §

227(a)(1), as prohibited by 47 U.S.C. § 227(b)(1)(A).

       30.     In the calls that Plaintiff did answer, there would be a short pause

lasting about two to three seconds between the time the calls were answered and the

time that a live agent introduced themselves as a representative from DIRECTV.

       31.     Upon information and belief, based on the pause and lack of prompt

human response during the phone calls in which Plaintiff answered, Defendant used a

predictive dialing system to place calls to Plaintiff.

       32.     “A predictive dialer is equipment that dials numbers and, when certain

computer software is attached, also assists [caller] in predicting when an [agent] will

be available to take calls. The hardware, when paired with certain software, has the

capacity to store or produce numbers and dial those numbers at random, in sequential
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order, or from a database of numbers.” Meyer v. Portfolio Recovery Associates, LLC,

707 F.3d 1036, 1043 (9th Cir. 2012).

        33.   The Federal Communications Commission (“FCC”) has determined that

predictive dialing systems are a form of an automatic telephone dialing system. Id.

        34.   Upon information and belief, the predictive dialing system employed by

Defendant transfers the call to a live agent once a human voice is detected, thus

resulting in a pause after the called party speaks into the phone.

        35.   Plaintiff instructed DIRECTV or its agent(s) not to call the Plaintiff’s

cell phone ever again thereby revoking consent (which never existed in any event) to

be contacted by DIRECTV via an ATDS.

        36.   Moreover, Defendant did not have prior express consent to place any

automated or prerecorded calls to Plaintiff on Plaintiff’s cellular telephone at any

time.

        37.   However, Defendant placed calls to the Plaintiff’s cellular telephone

without consent using an ATDS in violation of the TCPA.

        38.   Defendant’s ATDS has the capacity to store or produce telephone

numbers to be called, using a random or sequential number generator.

        39.   The telephone number that Defendant used to contact Plaintiff was and

is assigned to a cellular telephone service as specified in 47 U.S.C. §

227(b)(1)(A)(iii).
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       40.    Defendant’s calls to Plaintiff’s cellular telephone were not for

“emergency purposes.”

       41.    Pursuant to the TCPA and the FCC’s January 2008 Declaratory Ruling,

the burden is on Defendant to demonstrate that it had prior express consent to call

Plaintiff’s cellular phone with an ATDS.

       42.    The Plaintiff suffered actual harm and loss, since each of the unwanted

calls depleted the Plaintiff’s cell phone’s battery, and the cost of electricity to

recharge the phone is a tangible harm. While small, this cost is a real one, and the

cumulative effect can be consequential, just as is true for exposure to X-rays resulting

from the Defendant’s unwanted phone calls to the Plaintiff’s cell phone.

       43.    Plaintiff also suffered from an invasion of a legally protected interest by

placing calls to the Plaintiff’s personal phone line when the Defendant had no right to

do so, resulting in an invasion of Plaintiff’s right to privacy. The TCPA protects

consumers from this precise behavior.

       44.    Plaintiff has a common law right to privacy. E.g., Samuel D. Warren &

Louis D. Brandeis, The Right to Privacy, 4 Harv. L. Rev. 1155, 193 (1890).

Congress sought to further protect that right by enacting the TCPA.

       45.    Plaintiff was also personally affected, since the Plaintiff felt that the

Plaintiff’s privacy had been invaded when the Defendant placed calls to the

Plaintiff’s phone line without any consent to do so and the calls were annoying.
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      46.    The injury suffered by Plaintiff is concrete because Defendant’s

violations caused Plaintiff to suffer an invasion of privacy.

                                      COUNT I

                            Negligent Violations of the
                       Telephone Consumer Protection Act,
                             (47 U.S.C. § 227, et seq.)

      47.    Plaintiff repeats and realleges the above paragraphs of this Complaint

and incorporates them herein by reference.

      48.    Defendant negligently placed multiple automated calls to cellular

numbers belonging to Plaintiff without Plaintiff’s prior express consent.

      49.    Each of the aforementioned calls by Defendant constitutes a negligent

violation of the TCPA.

      50.    As a result of Defendant’s negligent violations of the TCPA, Plaintiff

is entitled to an award of $500.00 in statutory damages for each call in violation of

the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).

      51.    Additionally, Plaintiff is entitled to and seek injunctive relief

prohibiting such conduct by Defendant in the future.

                                      COUNT II

                     Knowing and/or Willful Violations of the
                      Telephone Consumer Protection Act,
                            (47 U.S.C. § 227, et seq.)

      52.    Plaintiff repeats and realleges the above paragraphs of this Complaint
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and incorporates them herein by reference.

      53.    Defendant knowingly and/or willfully placed multiple automated calls

to cellular numbers belonging to Plaintiff without Plaintiff’s prior express consent.

      54.    Each of the aforementioned calls by Defendant constitutes a knowing

and/or willful violation of the TCPA.

      55.    As a result of Defendant’s knowing and/or willful violations of the

TCPA, Plaintiff is entitled to an award of treble damages up to $1,500.00 for each

call in violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §

227(b)(3)(C).

      56.    Additionally, Plaintiff is entitled to seek injunctive relief prohibiting

such conduct by Defendant in the future.

                                     COUNT III

                       Defendant’s Violations of Nevada’s
                         Deceptive Trade Practices Act
                                (NRS 598.0918)

      57.    Plaintiff repeats and realleges the above paragraphs of this Complaint

and incorporates them herein by reference.

      58.    “Solicitation” means “the act of . . . seeking to obtain” something – in

this case money. Solicitation, Black’s Law Dictionary (2d Pocket Ed. 2001).

      59.    Here, the Defendant solicited the Plaintiff to seek or obtain money

from the Plaintiff.
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      60.      On March 13, 2001, Assembly Bill 337 (AB 337) was introduced to

the Nevada State Legislature. AB 337 revised Nevada’s Deceptive Trade Practices

statutes codified at NRS 598 et seq.

      61.      As expressed by Marilyn Skibinski, Regulatory Analyst, Bureau of

Consumer Protection, AB 337 was enacted to “provide[] additional protection for

consumers.” See Minutes of the Meeting of the Assembly Committee on Commerce

and Labor, 71st Session, April 4, 2001, page 1082, which can be viewed at

http://www.leg.state.nv.us/Division/Research/Library/LegHistory/LHs/2001/AB33

7,2001.pdf (the “AB 337 Minutes”).

      62.      Further, AB 337 was specifically intended to apply to companies (like

the Defendant) using “automatic calling” or automated dialing systems. As Ms.

Rushton stated in response to Senator Maggie Carlton, “[that] is exactly what [AB

337 is intended to do.” Id. at page 4093.

      63.      In specific, AB 337 made it a deceptive trade practice to, during a

solicitation by telephone, to:

            a. Repeatedly or continuously conduct the solicitation or presentation in
               a manner that is considered by a reasonable person to be annoying,
               abusive or harassing;
            b. Solicit a person by telephone at his or her residence between 8 p.m.
               and 9 a.m.

      64.      On numerous occasions Defendant violated NRS 598.0918(3) by

placing calls to Plaintiff’s telephone before 9:00 a.m. and after 8:00 p.m.
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Specifically, Defendant placed calls to Plaintiff’s cell phone before 9:00 a.m. and

after 8:00 p.m. on (at least) the following dates and times:

                             05/16/2015 08:05:16 AM
                             05/18/2015 08:06:08 AM
                             06/15/2015 08:09:33 AM
                             06/20/2015 08:12:26 AM
                             07/21/2015 08:46:41 AM
      65.    Defendant also repeatedly and continuously placed telephone calls to

the Plaintiff’s residential phone (which is also the Plaintiff’s cellular phone) to

solicit money from the Plaintiff in a manner that would be considered annoying,

abusive or harassing by a reasonable person.

      66.    Specifically, Defendant placed calls to Plaintiff’s cell phone even

after the Plaintiff demanded Defendant cease calls to the Plaintiff and advised

DIRECTV’s representatives that DIRECTV was calling the wrong person.

      67.    In fact, the DIRECTV’s solicitations continued even after the Plaintiff

complained to the DIRECTV supervisor who falsely stated the annoying

solicitations would cease.

      68.    Such conduct is unquestionably harassing and annoying.

      69.    As a direct consequence of Defendant’s harassing phone calls, acts,

practices and conduct, the Plaintiff suffered and continues to suffer from anger,

emotional distress, frustration, rage, headaches, and has otherwise been totally

annoyed by Defendant’s intrusive and illegal phone calls. Plaintiff has also lost the
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use of personal and family time while enduring these frustrations, as well as lost

time and minutes from cell phone use, for which the Plaintiff is charged a monthly

fee.

        70.      Defendant therefore violated NRS 598.0918(2) as well.

        71.      Defendant’s violations of NRS 598.0918 constitute violations of NRS

41.600 and the Plaintiff is entitled to relief under NRS 41.600.

                                  PRAYER FOR RELIEF

        WHEREFORE, the Plaintiff prays that judgment be entered against the

Defendant awarding the Plaintiff:

              1. Injunctive relief prohibiting such violations of the TCPA by Defendant

                 in the future;

              2. Statutory damages of $500.00 for each and every call in violation of the

                 TCPA pursuant to 47 U.S.C. § 227(b)(3)(B);

              3. Treble damages of up to $1,500.00 for each and every call in violation

                 of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(C);

              4. Actual damages including, but not limited to, the emotional distress the

                 Plaintiff has suffered (and continues to suffer) as a result of the

                 intentional, reckless, and/or negligent violations of NRS 598.0918 as

                 permitted under NRS 41.600;

              5. An award of attorney’s fees and costs to counsel for Plaintiff; and
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       6. Such other relief as the Court deems just and proper.

           TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: November 26, 2016

                                    Respectfully submitted,

                                    By /s/ David H. Krieger, Esq.

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